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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )
                                                     )      Crim. No. 19-10141-LTS
SHELLEY M. RICHMOND JOSEPH,                          )
                                                     )
                       Defendant.                    )


                   UNITED STATES’ RESPONSE TO COURT ORDER

       The government respectfully submits this response to the Court’s Order dated May 26,

2020 (Doc. No. 134).

       On May 7, Defendant Shelley Joseph filed three motions to compel discovery (Doc. Nos.

127, 128, 130), and two supporting memos of law (Doc. Nos. 129, 131). The memorandum in

support of Joseph’s primary motion, styled as a motion to compel evidence of political bias, is 23

pages and includes 29 exhibits. (Joseph filed an assented-to motion to file excess pages, which

the Court allowed.) All told, Joseph’s filings comprise 42 pages not including exhibits.

       On May 21, the government filed a 15-page opposition to Joseph’s three motions (Doc.

No. 132).

       On May 26, Joseph filed a motion for leave to submit a reply brief responding to the

government’s opposition (Doc. No. 133).

       All pending discovery motions are scheduled to be heard in four business days, on June

2, when the Court is also scheduled to hear argument on the defendant’s motions to dismiss the

indictment (Doc. Nos. 59, 61). 1


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  There are two pending discovery motions in addition to Joseph’s recent filings. First is the
defendants’ joint motion to compel production of the Defense Attorney’s and ADA’s grand jury
transcripts, and early Jencks for all witnesses (Doc. No. 32). Magistrate Judge Cabell issued an
order denying that motion (Doc. No. 86). The defendants filed objections (Doc. Nos. 105, 106),
to which the government responded (Doc. Nos. 110, 111). Second is Joseph’s motion to compel
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       The government respectfully opposes Joseph’s motion for leave to file a reply brief given

the short period of time between now and the hearing date, and given that Joseph has had ample

opportunity, and 42 pages, to make her arguments. The government does not believe the Court

needs any further briefing to decide the motions.

                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              UNITED STATES ATTORNEY


                                         By: /s/ Christine Wichers
                                             Dustin Chao
                                             Christine Wichers
                                             Assistant U.S. Attorneys




                                      Certificate of Service

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registered participants as identified on the Notice of Electronic Filing (NEF) on May 27, 2020.

                                              /s/ Christine Wichers
                                              Christine Wichers




production of the grand jury instructions (Doc. No. 109), which was not heard by Magistrate
Judge Cabell and which the government has opposed (Doc. No. 114).
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